       Case 20-13206-mdc         Doc 14Filed 09/01/20 Entered 09/01/20 17:33:12                Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

       LINDA M BOMBA                                 Chapter 13



                              Debtor                 Bankruptcy No. 20-13206-MDC

                               OBJECTION OF CHAPTER 13 TRUSTEE
                             TO CONFIRMATION OF PLAN OF DEBTOR(S)

       AND NOW comes, WILLIAM C. MILLER, ESQUIRE, chapter 13 standing trustee, to object to
confirmation of the chapter 13 plan of debtor(s), because it fails to comply with 11 U.S.C. Sections 1322
and/or 1325 of the Bankruptcy Code, and/or debtor(s) has/have failed to provide information,
evidence, or corrections to the petition, schedules, statements or other documents filed by debtor(s) to
enable the standing trustee to evaluate the Plan for confirmation, as follows:

Debtor(s) has/have failed to file amended schedules as directed at the meeting of creditors.

       WHEREFORE, the standing trustee requests that the Court enter an order in the form annexed hereto
denying confirmation of the Plan.


                                                     Respectfully submitted,

                                                       /s/ William C. Miller
                                                     William C. Miller, Esquire
                                                     Chapter 13 Standing Trustee
